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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT O PUERTO RICO


        IN RE:

        JORGE QUILES MALDONADO                     CASE NO.: 19-03782 ESL

                                                   CHAPTER 13
        DEBTOR


    STIPULATION FOR THE TREATMENT OF DOMESTIC SUPPORT OBLIGATION

  TO THE HONORABLE COURT:

        COME NOW, Debtor Jorge Quiles Maldonado and Domestic Support Obligation

  (“DSO”) Creditor Damaris Santiago Méndez, through their corresponding undersigned

  counsels, and very respectfully state and pray as follows:

     1. The appearing parties have had the opportunity to confer and reach an agreement

        that is in their best mutual interests -- to provide Debtor the opportunity of resolving

        his debts within the bankruptcy process, but most importantly, to finally ensure the

        collection of child support payments in favor of their minor child in the most

        expedited and efficient way possible.



                               UNDERLYING STIPULATED FACTS

     2. Debtor Jorge Quiles Maldonado filed for bankruptcy under Chapter 13 on June 29,

        2019.




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        3. On December 13, 2019, Ms. Santiago filed an amended proof of claim (“POC”)

            number 1-4, classified as Priority in the amount of $9,460.22, which corresponds

            to interest over the main pre-petition DSO debt 1 owed by the Debtor.

        4. After initially objecting to said claim (see docket 69) and the payment of any interest

            over the main pre-petition DSO debt, the Debtor subsequently amended his

            Chapter 13 plan to include $7,651.63 in DSO interest (see docket 131).

        5. The difference between Creditor Santiago’s priority allowed claim ($9,460.22) and

            the amount that is currently being paid ($7,651.63) by the Debtor in the last

            amended plan at docket 151 is currently under judicial review by the First Instance

            Court of Puerto Rico, Arecibo region, case C DI2018-0428 and/or D DI2011-0314.

            Therefore, the appearing parties have decided to resolve their differences as

            follows.



                                      TERMS AND CONDITIONS

        6. Ms. Santiago will not oppose the confirmation of the amended plan currently

            proposed (docket 151).

        7. Upon the final adjudication of the judicial review by the Puerto Rico Court, and

            once such decision becomes final, the Debtor will have 20 days to amend the

            Chapter 13 Plan in order to provide payment for whichever amount of the disputed

            difference that is finally attributed to the Debtor, if any. This treatment of Claim #




  1
      The amount of the main pre-petition DSO debt has never been in controversy.
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          1-4 responds to an agreement between the Debtor and creditor Damaris Santiago

          Mendez.

     8. The appearing parties acknowledge that they have read and understand this

          agreement, and hereby agree to abide by its terms.

     9.    Such is the agreement entered by the undersigned parties, whose approval by

          this Honorable Court is respectfully requested.



  WHEREFORE, Creditor Damaris Santiago and Debtor Jorge Quiles respectfully pray and

  request that the agreement set forth herein be approved by this Honorable Court and an

  order to that effect be entered accordingly.



          RESPECTFULLY SUBMITTED.

          In San Juan, Puerto Rico this 13th day of August, 2020.


          Notice: Within twenty-one (21) days after service as evidenced by the certification,

  and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served

  by mail, any party against whom this paper has been served, or any other party to the

  action who objects to the relief sought herein, shall serve and file an objection or other

  appropriate response to this paper with the clerk’s office of the United States Bankruptcy

  Court for the District of Puerto Rico. If no objection or other response is filed within the

  time allowed herein, the paper will be deemed unopposed and may be granted unless: (i)

  the requested relief is forbidden by law; (ii) the requested relief is against public policy; or

  (iii) in the opinion of the court, the interest of justice requires otherwise.


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  I HEREBY CERTIFY: that on this same date I have electronically filed the foregoing with
  the Clerk of the Court using the CM/ECF system which will send notification of such filing
  to all registered parties, including the U.S. Trustee’s Office and Trustee José Carrión,
  Esq.


    s/Germán A. Rieckehoff                   s/ Ignacio García Franco
    GERMAN A. RIECKEHOFF                     IGNACIO GARCIA FRANCO
    USDC-PR 217704                           USCD-PR 231410

    Attorney for Debtor- Jorge Quiles        Attorney for Creditor- Damaris Santiago
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